Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 1 of 42 Page ID #:712




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  15                       UNITED STATES DISTRICT COURT
  16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 Universal City Studios Productions         Case No. 2:17-cv-07496-MWF(AS)
     LLLP; Columbia Pictures Industries,
  19 Inc.; Disney Enterprises, Inc.;            PLAINTIFFS’ NOTICE OF
     Twentieth Century Fox Film                 MOTION AND MOTION FOR
  20 Corporation; Paramount Pictures            LEAVE TO FILE FIRST
     Corporation; Warner Bros.                  AMENDED COMPLAINT AND TO
  21 Entertainment Inc., Amazon Content         EXTEND DISCOVERY CUTOFF
     Services, LLC; Netflix Studios, LLC,
  22                                            Date: July 9, 2018
                  Plaintiffs,                   Time: 10:00 a.m.
  23
            vs.                                 Ctrm: 5A (Hon. Michael W. Fitzgerald)
  24
     Tickbox TV LLC,                            Filed concurrently:
  25                                              Declaration of Kelly M. Klaus
                  Defendant.
  26                                              [Proposed] Order
  27
  28
                                                                     2:17-cv-07496-MWF(AS)
             MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 2 of 42 Page ID #:713




   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2        PLEASE TAKE NOTICE that on July 9, 2018 at 10:00 a.m., or as soon
   3 thereafter as the matter may be heard before the Honorable Michael W. Fitzgerald,
   4 in Courtroom 5A of the above-captioned Court, located at 350 West First Street, Los
   5 Angeles, California, Plaintiffs Universal City Studios Productions LLLP, Columbia
   6 Pictures Industries, Inc., Disney Enterprises, Inc., Twentieth Century Fox Film
   7 Corporation, Paramount Pictures Corporation, Warner Bros. Entertainment Inc.,
   8 Amazon Content Services, LLC, and Netflix Studios, LLC (collectively,
   9 “Plaintiffs”), will and hereby do move for leave to file a first amended complaint to
  10 add appropriate parties to this action. Plaintiffs request leave to add as Defendants
  11 Jeffrey Goldstein, the Chief Executive Officer of Defendant TickBox TV LLC, and
  12 Carrla Goldstein, whom Defendant TickBox TV LLC has described as a “member
  13 of” TickBox TV LLC, (collectively the “Goldsteins”). Plaintiffs also respectfully
  14 request that the Court amend the current discovery schedule to allow a modest
  15 extension of the time for completing discovery.
  16        This motion is made following the conference of counsel pursuant to L.R. 7-3
  17 which took place on May 25, 2018. Plaintiffs requested that TickBox consent to the
  18 filing of an amended complaint and stipulate to an amended case schedule. TickBox
  19 declined to consent.
  20        This Motion is made on the following grounds as explained in the supporting
  21 papers: This Court has jurisdiction to permit an amended complaint. The Federal
  22 Rules and Ninth Circuit precedent require that leave to amend be freely granted
  23 when justice so requires. The five factors considered in assessing the propriety of a
  24 motion for leave to amend favor granting this motion. Specifically, there is no bad
  25 faith, undue delay, prejudice or futility, and Plaintiffs have not previously amended.
  26 Moreover, Plaintiffs’ request for a modest extension of the discovery cutoff date
  27 should be granted to allow the parties to complete necessary fact and expert
  28 discovery.
                                                                      2:17-cv-07496-MWF(AS)
              MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 3 of 42 Page ID #:714




   1        This Motion is based on this Notice of Motion and Motion; the accompanying
   2 Memorandum of Points and Authorities and exhibits thereto (including the Proposed
   3 First Amended Complaint, attached as Ex. A, per Civil L.R. 15-1); and the
   4 contemporaneously filed Declaration of Kelly M. Klaus (and exhibits thereto) and
   5 Proposed Order; and such further or additional evidence or argument as may be
   6 presented before or at the time of the hearing on this Motion.
   7
   8 DATED: June 4, 2018                  MUNGER, TOLLES & OLSON LLP
   9
  10
                                          By:        /s/ Kelly M. Klaus
  11
                                              KELLY M. KLAUS
  12                                      Attorneys for Plaintiffs
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             MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 4 of 42 Page ID #:715




   1                                            TABLE OF CONTENTS
                                                                                                                       Page
   2
   3 MEMORANDUM OF POINTS AND AUTHORITIES............................................. 1
   4 INTRODUCTION ....................................................................................................... 1
   5 BACKGROUND ......................................................................................................... 1
   6 ARGUMENT ............................................................................................................... 2
   7            A.       The Court Should Grant Plaintiffs Leave to Amend .............................. 2
   8            B.       The Discovery Deadlines Should Be Modestly Extended ...................... 5
   9            C.       The Court Should Extend the Discovery Schedule Even If It
                         Denies Leave to Amend .......................................................................... 6
  10
       CONCLUSION............................................................................................................ 7
  11
  12
  13
  14
  15
  16
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                                                 -i-                      2:17-cv-07496-MWF(AS)
                  MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 5 of 42 Page ID #:716




   1                                             TABLE OF AUTHORITIES
   2                                                                                                                            Page
   3 FEDERAL CASES
   4 Bangkok Broadcasting & T.V. Co., Ltd. v. IPTV Corp.,
   5   742 F. Supp. 2d 1101 (C.D. Cal. 2010) .................................................................. 5

   6 Cervantes v. Countrywide Home Loans, Inc.,
       656 F.3d 1034 (9th Cir. 2011) ................................................................................ 4
   7
   8 Cole v. CRST, Inc.,
       317 F.R.D. 141 (C.D. Cal. 2016)........................................................................ 2, 5
   9
     Columbia Pictures Indus., Inc. v. Fung,
  10
       710 F.3d 1020 (9th Cir. 2013) ................................................................................ 4
  11
     Committee for Idaho’s High Desert, Inc. v. Yost,
  12   92 F.3d 814 (9th Cir. 1996) .................................................................................... 5
  13
     DCD Programs, Ltd. v. Leighton,
  14   833 F.2d 183 (9th Cir. 1987) .............................................................................. 2, 5
  15 Eichler v. Tilton,
  16    No. CIVS06-2894-RRB-CMKP, 2008 WL 109340 (E.D. Cal. Jan.
        8, 2008), aff’d, No. CIVS062894JAMCMKP, 2008 WL 3889738
  17    (E.D. Cal. Aug. 20, 2008) ....................................................................................... 4
  18
     Jackson v. Bank of Hawaii,
  19    902 F.2d 1385 (9th Cir. 1990) ................................................................................ 3
  20 Johnson v. Buckley,
  21    356 F.3d 1067 (9th Cir. 2004) ................................................................................ 2
  22 Transgo, Inc. v. Ajac Transmission Parts Corp.,
  23    768 F.2d 1001 (9th Cir. 1986) ................................................................................ 5

  24 United States v. United Healthcare Insurance Company,
       848 F.3d 1161 (9th Cir. 2016) ................................................................................ 4
  25
  26 FEDERAL RULES
  27 Rule 7.1 ........................................................................................................................ 3
  28 Rule 15 ..................................................................................................................... 2, 5

                                                   -ii-                     2:17-cv-07496-MWF(AS)
                    MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 6 of 42 Page ID #:717




   1 Rule 15(a)(2) ................................................................................................................ 2
   2 Rule 16 ......................................................................................................................... 2
   3
     Rule 26(f) ..................................................................................................................... 2
   4
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                                                  -iii-                    2:17-cv-07496-MWF(AS)
                   MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 7 of 42 Page ID #:718




   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2                                   INTRODUCTION
   3         Plaintiffs filed this action against Defendant TickBox TV LLC (“TickBox”)
   4 on October 13, 2017. (Dkt. 1.) Since then, Plaintiffs have moved for and this Court
   5 has granted a preliminary injunction. The parties negotiated a stipulated preliminary
   6 injunction, and have engaged in good faith settlement negotiations.
   7         This Motion requests two forms of relief to bring this action to a speedy and
   8 just conclusion. First, Plaintiffs seek leave to amend to add two necessary
   9 defendants, Jeffrey and Carrla Goldstein, who own and operate the TickBox service.
  10 Plaintiffs’ Proposed Amended Complaint is attached as Exhibit A to this Motion.
  11 The Goldsteins have played an integral role in TickBox’s illegal inducement of
  12 copyright infringement. Adding the Goldsteins to the action would best protect
  13 Plaintiffs’ right to ultimately obtain a damages award.
  14         Second, Plaintiffs request a brief extension of the discovery schedule and
  15 follow-on case management dates, as set forth in Exhibit B to this Motion. This
  16 extension will afford the parties the necessary time to complete discovery and
  17 prepare for dispositive motions and, if necessary, trial.
  18                                    BACKGROUND
  19         The parties stipulated to extend TickBox’s time to answer the complaint on
  20 November 9, 2017, (Dkt. 18), and TickBox answered on December 8, 2018. (Dkt.
  21 29.) Following a meet and confer, Plaintiffs filed their motion for preliminary
  22 injunction on December 7, 2017. (Dkt. 28.) Pursuant to stipulation and this Court’s
  23 order, the parties completed briefing on Plaintiffs’ motion for preliminary injunction
  24 on January 12, 2018, and the Court held a hearing on January 29, 2018. (Dkts. 33,
  25 34, 37, 38.) As directed by the Court at the January 29, 2018 hearing, the parties
  26 worked diligently to submit a proposed preliminary injunction order by February 7,
  27 2018. (Dkts. 38, 40, 41.) The Court entered the preliminary injunction on February
  28 13, 2018. (Dkt. 44.)

                                             -1-                      2:17-cv-07496-MWF(AS)
              MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 8 of 42 Page ID #:719




   1        Pursuant to the Court’s March 6, 2018 scheduling notice, the parties
   2 submitted an Amended Joint Rule 26(f) Report on March 21, 2018. (Dkt. 48.) The
   3 Court did not hold a Rule 16 scheduling conference. On April 13, 2018, The Court
   4 entered an Order re Jury Trial setting forth the operative case schedule. (Dkt. 50.)
   5 The Order set a discovery cut-off date of June 4, 2018. Plaintiffs served their first
   6 set of discovery requests less than two weeks after, on April 25, 2018. Klaus Decl.
   7 Ex. A. TickBox served its objections 30 days later. Id. Ex. B. TickBox agreed to
   8 produce documents responsive to multiple requests and objected to other requests.
   9 However, TickBox has not, as of the date of this filing, produced any responsive
  10 documents.
  11                                     ARGUMENT
  12        A.     The Court Should Grant Plaintiffs Leave to Amend
  13        Once the time to amend a complaint as a matter of course passes, the Federal
  14 Rules of Civil Procedure allow for a party to amend its complaint either with the
  15 opposing party’s permission or with leave from the court. Fed. R. Civ. P. 15(a)(2).
  16 Rule 15 provides that the Court “should freely give leave when justice so requires.”
  17 Id.; see also DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987)
  18 (explaining that Rule 15 embodies a policy of “favoring amendments to pleadings”
  19 “with ‘extreme liberality’”). “Five factors are taken into account to assess the
  20 propriety of a motion for leave to amend: [1] bad faith, [2] undue delay,
  21 [3] prejudice to the opposing party, [4] futility of amendment, and [5] whether the
  22 plaintiff has previously amended the complaint.” Johnson v. Buckley, 356 F.3d
  23 1067, 1077 (9th Cir. 2004). “The burden is on the party opposing amendment to
  24 show prejudice.” Cole v. CRST, Inc., 317 F.R.D. 141, 146 (C.D. Cal. 2016) (citing
  25 DCD Programs, 833 F.2d at 187). “Absent a showing of prejudice or a strong
  26 showing of the remaining factors, a presumption exists in favor of granting leave to
  27 amend.” Id.
  28

                                             -2-                      2:17-cv-07496-MWF(AS)
              MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 9 of 42 Page ID #:720




   1         Here, all five factors counsel in favor of permitting leave to amend, TickBox
   2 cannot establish prejudice, and leave should be granted.
   3         First, it is not bad faith to amend to bring all relevant parties into the action.
   4 Plaintiffs did not know the extent to which the Goldsteins were involved in devising,
   5 controlling, and financially benefiting from TickBox at the time the Complaint was
   6 filed. It was not until TickBox’s opposition to Plaintiffs’ motion for preliminary
   7 injunction that it became clear that the Goldsteins are the brains behind TickBox’s
   8 scheme to induce mass infringement of Plaintiffs’ copyrighted works. Jeffrey
   9 Goldstein submitted a declaration averring to his position as CEO of TickBox TV
  10 LLC and his knowledge and control over TickBox’s marketing, promotion, and
  11 operations. (Dkt. 34-1.) Combined with TickBox’s own admission that Carrla
  12 Goldstein, Jeffrey Goldstein’s spouse, is a “member” and interested party for
  13 purposes of Federal Rule of Civil Procedure 7.1 (Dkt. 30), it is now clear that the
  14 Goldsteins must be added to this suit. Bringing the relevant parties into the
  15 litigation is not bad faith; it ensures that justice is accomplished by permitting
  16 Plaintiffs to protect their rights and recover for their damages from those individuals
  17 and entities engaged in the illegal conduct.
  18         Second, TickBox cannot establish undue delay because Plaintiffs could not
  19 have known the extent of the Goldsteins’ involvement at the time of filing the
  20 complaint. See Jackson v. Bank of Hawaii, 902 F.2d 1385, 1388 (9th Cir. 1990)
  21 (explaining that in considering undue delay, courts analyze “whether the moving
  22 party knew or should have known the facts and theories raised by the amendment in
  23 the original pleading”). Plaintiffs are filing now to join all relevant parties and to
  24 ensure that sufficient assets remain for a damages award after trial. Even if
  25 Plaintiffs could have sought to amend sooner, that is not undue delay. Plaintiffs
  26 have been diligently prosecuting this action and engaging in good faith settlement
  27 negotiations with TickBox. Regardless, “[u]ndue delay by itself is insufficient to
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                                             -3-                      2:17-cv-07496-MWF(AS)
              MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 10 of 42 Page ID #:721




    1 justify denying leave to amend.” United States v. United Healthcare Insurance
    2 Company, 848 F.3d 1161, 1184 (9th Cir. 2016).
    3         Third, TickBox cannot establish prejudice as to itself or to the Goldsteins.
    4 This case is still in early stages, and the proposed amendments are not ones that
    5 would greatly expand discovery. Indeed, the Goldsteins’ involvement in TickBox’s
    6 illegal scheme overlaps with TickBox’s, so the discovery may be duplicative; if the
    7 Goldsteins are not added, Plaintiffs would seek third party discovery from the
    8 Goldsteins. As it stands, Plaintiffs’ discovery requests call for TickBox to search
    9 for documents in the Goldsteins’ possession. See Klaus Decl. Ex. A at 1 ¶ 1.
   10         The Goldsteins cannot claim prejudice from the amendment because Plaintiffs
   11 could simply bring a new action against them instead of filing this First Amended
   12 Complaint. Adding the Goldsteins as parties to this action (as opposed to filing a
   13 new action) would promote judicial efficiency and the resolution of the entire
   14 controversy. See Eichler v. Tilton, No. CIV S-06-2894-RRB-CMK-P, 2008 WL
   15 109340, at *2 (E.D. Cal. Jan. 8, 2008), aff’d, No. CIV S-06-2894-JAM-CMK-P,
   16 2008 WL 3889738 (E.D. Cal. Aug. 20, 2008) (“Granting plaintiff leave to amend
   17 will include all defendants in one action, and therefore will promote the speedy
   18 resolution of the entire controversy.”).
   19         Fourth, TickBox cannot prove that amendment here would be futile.
   20 Amendment is generally futile when there is a deficiency in the pleading that
   21 amendment cannot cure. See Cervantes v. Countrywide Home Loans, Inc., 656
   22 F.3d 1034, 1041 (9th Cir. 2011). The proposed amendments are justified because
   23 the allegations (and evidence) establish that Plaintiffs have valid claims against the
   24 Goldsteins. Individuals, like corporate entities, can be held liable for inducing
   25 copyright infringement. See, e.g., Columbia Pictures Indus., Inc. v. Fung, 710 F.3d
   26 1020, 1023 (9th Cir. 2013) (individual defendant and his company held liable for
   27 inducing copyright infringement). The Goldsteins are directly liable for the illegal
   28 conduct of TickBox because, as alleged in the First Amended Complaint, they

                                              -4-                      2:17-cv-07496-MWF(AS)
               MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 11 of 42 Page ID #:722




    1 devised, executed, promoted, and directed the development and sales of TickBox
    2 devices. See, e.g., Committee for Idaho’s High Desert, Inc. v. Yost, 92 F.3d 814,
    3 823 (9th Cir. 1996) (“[a] corporate officer or director is, in general, personally
    4 liable for all torts which he authorizes or directs or in which he participates,
    5 notwithstanding that he acted as an agent of the corporation and not on his own
    6 behalf”) (quoting Transgo, Inc. v. Ajac Transmission Parts Corp., 768 F.2d 1001,
    7 1021 (9th Cir. 1985)); see also Bangkok Broadcasting & T.V. Co., Ltd. v. IPTV
    8 Corp., 742 F. Supp. 2d 1101, 1115 (C.D. Cal. 2010) (“Certainly, because Ron
    9 Petcha is a ʽguiding spirit’ behind IPTV’s activities, including IPTV’s alleged
   10 copyright infringement, the uncontroverted evidence establishes that he is liable for
   11 copyright infringement.”)
   12        Fifth, Plaintiffs have not yet amended their complaint, so this factor favors
   13 permitting amendment here.
   14        In sum, Rule 15’s policy of “extreme liberality” with respect to allowing
   15 amendment weighs heavily in favor of granting Plaintiffs’ motion. See DCD
   16 Programs, 833 F.2d at 186. TickBox cannot demonstrate prejudice, nor can it carry
   17 its burden of making a “strong showing” that the remaining factors require denial of
   18 leave to amend. See Cole, 317 F.R.D. at 146.
   19        B.     The Discovery Deadlines Should Be Modestly Extended
   20        In light of ongoing discovery, settlement negotiations, and Plaintiffs’ motion
   21 for leave to file an amended complaint, Plaintiffs respectfully request that the Court
   22 briefly extend the operative case schedule. Plaintiffs’ already served discovery
   23 requests include the Goldsteins in the definition of “TickBox.” See Klaus Decl. Ex.
   24 A at 1 ¶ 1. Hence, any additional discovery, if necessary, should be limited to
   25 Defendants’ ability to pay any statutory damages award and the depth of the
   26 Goldsteins’ involvement in and knowledge of TickBox’s inducement of copyright
   27 infringement.
   28

                                              -5-                      2:17-cv-07496-MWF(AS)
               MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 12 of 42 Page ID #:723




    1         The Court entered the operative scheduling order on April 13, 2018. The
    2 current case schedule ends fact discovery on June 4, 2018. Plaintiffs served their
    3 first discovery requests on TickBox just 11 days after the Court’s scheduling order,
    4 on April 24, 2018. Id. Ex. A. And, as noted, while TickBox has responded and
    5 agreed to produce documents responsive to multiple requests, TickBox has not as
    6 yet made any document production. TickBox may simply be hoping it can avoid
    7 any document production or motion to compel given the discovery cut-off. The
    8 current schedule therefore threatens to severely prejudice Plaintiffs’ ability to collect
    9 relevant evidence for their liability, damages and permanent injunctive relief cases.
   10 TickBox, on the other hand, would suffer no prejudice as a result of a modest
   11 extension of the discovery schedule.
   12         As Plaintiffs have not previously requested that the Court alter the case
   13 schedule, Plaintiffs respectfully request that the Court extend the discovery cut-off
   14 date by approximately 60 days to August 3, 2018. Plaintiffs have attached as
   15 Exhibit B to this motion a revised Schedule of Pretrial and Trial Dates Worksheet.
   16 This modest extension of time would allow the parties to complete necessary
   17 discovery and still get this matter to trial within 14 months of the filing of the
   18 original complaint.
   19         C.     The Court Should Extend the Discovery Schedule Even If It Denies
                     Leave to Amend
   20
              Finally, even if the Court is inclined to deny Plaintiffs’ request for leave to
   21
        amend the complaint, Plaintiffs respectfully request that the Court still extend the
   22
        discovery schedule. For the reasons set forth in Section B, supra, a modest
   23
        extension of the discovery schedule is necessary to prevent significant prejudice to
   24
        Plaintiffs and would not prejudice TickBox nor unduly delay the operative case
   25
        schedule.
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                                              -6-                      2:17-cv-07496-MWF(AS)
               MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 13 of 42 Page ID #:724




    1                                   CONCLUSION
    2        For the foregoing reasons, the Court should grant Plaintiffs’ motion for leave
    3 to amend the complaint to add the Goldsteins as Defendants and briefly extend the
    4 case schedule to allow the parties to complete discovery.
    5
    6 DATED: June 4, 2018                  MUNGER, TOLLES & OLSON LLP
    7
    8
    9
                                           By:        /s/ Kelly M. Klaus
   10                                                 KELLY M. KLAUS
   11
                                           Attorneys for Plaintiffs
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                                             -7-                      2:17-cv-07496-MWF(AS)
              MOTION FOR LEAVE TO AMEND COMPLAINT AND TO EXTEND DISCOVERY CUTOFF
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 14 of 42 Page ID #:725




                       EXHIBIT A




                                                                             Exh A
                                                                                 8
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 15 of 42 Page ID #:726




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      15                      UNITED STATES DISTRICT COURT
      16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      17
      18 Universal City Studios Productions      Case No. 17-cv-07406-MWF(AS)
         LLLP; Columbia Pictures Industries,
      19 Inc.; Disney Enterprises, Inc.;
         Twentieth Century Fox Film              [PROPOSED] FIRST AMENDED
      20 Corporation; Paramount Pictures         COMPLAINT
         Corporation; Warner Bros.
      21 Entertainment Inc.; Amazon Content      DEMAND FOR JURY TRIAL
         Services, LLC; Netflix Studios, LLC,
      22
                      Plaintiffs,
      23
                vs.
      24
         TickBox TV LLC; Jeffrey Goldstein;
      25 Carrla Goldstein
      26              Defendants.
      27
      28

                                      FIRST AMENDED COMPLAINT


                                                                                Exh A
                                                                                    9
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 16 of 42 Page ID #:727




      1        Plaintiffs Universal City Studios Productions LLLP (“Universal”), Columbia
      2 Pictures Industries, Inc. (“Columbia”), Disney Enterprises, Inc. (“Disney”),
      3 Twentieth Century Fox Film Corporation (“Fox”), Paramount Pictures Corporation
      4 (“Paramount”), Warner Bros. Entertainment Inc. (“Warner Bros.”), Amazon
      5 Content Services, LLC (“Amazon”), and Netflix Studios, LLC (“Netflix”)
      6 (collectively, “Plaintiffs”) bring this First Amended Complaint against TickBox TV
      7 LLC (“TickBox”), Jeffrey Goldstein and Carrla Goldstein (“Goldsteins”),
      8 (collectively, “Defendants”) under the Copyright Act (17 U.S.C. § 101 et seq.).
      9 This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a),
     10 and 17 U.S.C. § 501(b). Plaintiffs allege, on personal knowledge as to themselves
     11 and information and belief as to others, as follows:
     12                                  INTRODUCTION
     13        1.     Defendants sell “TickBox TV,” a computer hardware device that
     14 Defendants urge their customers to use as a tool for the mass infringement of
     15 Plaintiffs’ copyrighted motion pictures and television shows (“Plaintiffs’
     16 Copyrighted Works”). Defendants tell customers to “plug the Tickbox TV into your
     17 current television and enjoy unlimited access to ALL the hottest TV shows,
     18 Hollywood blockbusters and LIVE sporting events in one convenient little device …
     19 ABSOLUTELY FREE.” And Defendants promote the device as the means to “cut
     20 the cord” if “you’re sick of paying high monthly fees and expensive bills for your
     21 regular cable bill and premium cable channels like HBO and SHOWTIME … [o]r if
     22 you’re tired of wasting money with online streaming services like Netflix, Hulu or
     23 Amazon Prime.”
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                                                  -1-
                                       FIRST AMENDED COMPLAINT


                                                                                             Exh A
                                                                                                10
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 17 of 42 Page ID #:728




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     15        2.     What Defendants actually sell is nothing less than illegal access to
     16 Plaintiffs’ copyrighted content. It works like this: Defendants distribute and
     17 promote the TickBox TV “box,” the black box in the right-hand side of TickBox’s
     18 ad shown above. TickBox TV uses software to link TickBox’s customers to
     19 infringing content on the Internet. When those customers use TickBox TV as
     20 Defendants intend and instruct, Defendants’ customers have nearly instantaneous
     21 access to multiple sources that stream Plaintiffs’ Copyrighted Works without
     22 authorization. These streams are illegal public performances of Plaintiffs’
     23 Copyrighted Works.
     24        3.     For the customers who use TickBox TV, the device provides the
     25 hallmarks of subscribing to authorized streaming services, with one notable
     26 exception: the customers only pay money to Defendants, not to Plaintiffs and other
     27 content creators upon whose works Defendants’ business depends. Plaintiffs bring
     28

                                                   -2-
                                        FIRST AMENDED COMPLAINT


                                                                                             Exh A
                                                                                                11
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 18 of 42 Page ID #:729




      1 this action to stop Defendants’ intentional inducement of, and knowing and material
      2 contribution to, the widespread infringement of Plaintiffs’ rights.
      3                                       THE PARTIES
      4         4.     Plaintiff Universal City Studios Productions LLLP is a limited liability
      5 limited partnership duly organized under the laws of the State of Delaware with its
      6 principal place of business in Universal City, California. Universal owns or controls
      7 the copyrights or exclusive rights in the content that it or its affiliates produce or
      8 distribute.
      9         5.     Plaintiff Columbia Pictures Industries, Inc. is a corporation duly
     10 incorporated under the laws of the State of Delaware with its principal place of
     11 business in Culver City, California. Columbia owns or controls the copyrights or
     12 exclusive rights in the content that it or its affiliates produce or distribute.
     13         6.     Plaintiff Disney Enterprises, Inc. is a corporation duly incorporated
     14 under the laws of the State of Delaware with its principal place of business in
     15 Burbank, California. Disney owns or controls the copyrights or exclusive rights in
     16 the content that it or its affiliates produce or distribute.
     17         7.     Plaintiff Twentieth Century Fox Film Corporation is a corporation duly
     18 incorporated under the laws of the State of Delaware with its principal place of
     19 business in Los Angeles, California. Fox owns or controls the copyrights or
     20 exclusive rights in the content that it or its affiliates produce or distribute.
     21         8.     Plaintiff Paramount Pictures Corporation is a corporation duly
     22 incorporated under the laws of the State of Delaware with its principal place of
     23 business in Los Angeles, California. Paramount owns or controls the copyrights or
     24 exclusive rights in the content that it or its affiliates produce or distribute.
     25         9.     Plaintiff Warner Bros. Entertainment Inc. is a corporation duly
     26 incorporated under the laws of the State of Delaware with its principal place of
     27 business in Burbank, California. Warner Bros. owns or controls the copyrights or
     28 exclusive rights in the content that it or its affiliates produce or distribute.

                                                      -3-
                                          FIRST AMENDED COMPLAINT


                                                                                                  Exh A
                                                                                                     12
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 19 of 42 Page ID #:730




      1         10.    Plaintiff Amazon Content Services, LLC is a corporation duly
      2 incorporated under the laws of the State of Delaware with its principal place of
      3 business in Seattle, Washington. Amazon owns or controls the copyrights or
      4 exclusive rights in the content that it or its affiliates produce or distribute.
      5         11.    Plaintiff Netflix Studios, LLC is a limited liability company under the
      6 laws of the State of Delaware with its principal place of business in Los Angeles,
      7 California. Netflix owns or controls the copyrights or exclusive rights in the content
      8 that it or its affiliates produce or distribute.
      9         12.    Plaintiffs have obtained Certificates of Copyright Registration for their
     10 Copyrighted Works. Exhibit A contains a representative list of titles, along with
     11 their registration numbers, as to which TickBox has contributed to and induced
     12 infringement and continues to contribute to and induce infringement.
     13         13.    TickBox TV LLC is a corporation duly incorporated under the laws of
     14 the State of Georgia with its principal place of business at 5887 Glenridge Dr., #400,
     15 Sandy Springs, GA 30328.
     16         14.    Jeffrey Goldstein is the CEO of TickBox TV LLC. Jeffrey Goldstein is
     17 a resident of Atlanta, Georgia.
     18         15.    Carrla Goldstein is the “100% owner and manager and organizer of”
     19 TickBox TV LLC. Carrla Goldstein is a resident of Atlanta, Georgia. As CEO and
     20 sole owner, manager and organizer of TickBox TV LLC, the Goldsteins control
     21 Tickbox TV LLC, and all three Defendants act in concert in causing and carrying
     22 out the unlawful conduct set forth herein.
     23                              JURISDICTION AND VENUE
     24         16.    This Court has subject matter jurisdiction over this Complaint pursuant
     25 to 28 U.S.C. §§ 1331, 1338(a), and 17 U.S.C. § 501(b).
     26         17.    Defendants operate an interactive website (www.tickboxtv.com), where
     27 Defendants conduct online sales, offers “live chat” technical support, and promote
     28 the TickBox TV device. This website is available to and used by California

                                                      -4-
                                          FIRST AMENDED COMPLAINT


                                                                                                   Exh A
                                                                                                      13
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 20 of 42 Page ID #:731




      1 residents. TickBox TV’s widespread and growing popularity is reflected in the
      2 roughly half a million unique visitors per month to its website.
      3         18.   Defendants sell and ship TickBox TV devices to California residents.
      4 They also provide ongoing technical support to California residents and manages
      5 TickBox TV units remotely by facilitating automatic software updates to TickBox
      6 TV customers who reside in California. Defendants utilize the services of
      7 companies in California, including Facebook, YouTube, Twitter, and Google+ to
      8 advertise and promote TickBox TV to potential customers in California.
      9         19.   Defendants also knowingly and intentionally target Plaintiffs and the
     10 State of California by openly encouraging TickBox TV customers in California and
     11 elsewhere to obtain “free” streams of infringing content rather than “wasting money
     12 with online streaming services like Netflix, Hulu or Amazon Prime.” Defendants
     13 encourage these customers to use TickBox TV to obtain infringing access to
     14 “Hollywood blockbusters,” further demonstrating its intent to target Plaintiffs and
     15 the State of California. Defendants further use Plaintiffs’ or their affiliates’
     16 trademarks for television channels (e.g., the Disney Channel) to demonstrate the
     17 range of available infringing content, and to advertise the availability of the latest
     18 “Hollywood blockbusters.”
     19         20.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b),
     20 1400(a).
     21                                FACTUAL OVERVIEW
     22 Plaintiffs and Their Copyrighted Works
     23         21.   Plaintiffs or their affiliates produce and distribute some of the most
     24 popular and critically acclaimed motion pictures and television shows in the world.
     25         22.   Plaintiffs or their affiliates have invested (and continue to invest)
     26 substantial resources and effort each year to develop, produce, distribute, and
     27 publicly perform their Copyrighted Works.
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                                                    -5-
                                         FIRST AMENDED COMPLAINT


                                                                                                 Exh A
                                                                                                    14
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 21 of 42 Page ID #:732




      1        23.    Plaintiffs or their affiliates own or have the exclusive U.S. rights
      2 (among others) to reproduce, distribute, and publicly perform Plaintiffs’
      3 Copyrighted Works, including by means of streaming those works over the Internet
      4 to the public.
      5        24.    Plaintiffs authorize the distribution and public performance of their
      6 Copyrighted Works in various formats and through multiple distribution channels,
      7 including, by way of example: (a) for exhibition in theaters; (b) through cable and
      8 direct-to-home satellite services (including basic, premium, and “pay-per-view”);
      9 (c) through authorized, licensed Internet video-on-demand services, including those
     10 operated by iTunes, Google Play, Hulu, and VUDU, as well as those operated by
     11 Netflix and Amazon (which are affiliates of the copyright-owners Netflix and
     12 Amazon that are Plaintiffs here); (d) for private home viewing on DVDs and Blu-
     13 ray discs; and (e) for broadcast on television.
     14        25.    Plaintiffs have not authorized Defendants, the operators of the third-
     15 party sites to which its TickBox TV links, or TickBox’s customers, to exercise any
     16 of Plaintiffs’ exclusive rights under the Copyright Act, 17 U.S.C. § 106.
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                                                    -6-
                                        FIRST AMENDED COMPLAINT


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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 22 of 42 Page ID #:733




      1 Defendants’ Inducement of and Contribution to the Infringement of Plaintiffs’
        Copyrighted Works
      2
      3      The TickBox TV Experience
      4        26.    TickBox TV is easy for customers to install and operate. Customers
      5 need only connect TickBox TV to the Internet and a screen (computer monitor or
      6 television) to operate. Defendants’ marketing materials illustrate how easy it is to
      7 install TickBox TV (the device itself appears within the red circle in TickBox’s ad
      8 below, underneath the words, “just plug and play!”):
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                                                   -7-
                                        FIRST AMENDED COMPLAINT


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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 23 of 42 Page ID #:734




      1        27.    Defendants market the TickBox device as one that gives their
      2 customers direct access to “the largest online media library on the planet,” with
      3 “virtually all the channels you get from your local cable company,” and “without
      4 you having to worry about paying rental fees or monthly subscriptions.”
      5        28.    TickBox TV primarily utilizes two types of software programs. The
      6 first is a software media player called “Kodi.” Kodi is a third-party “open source”
      7 media player, meaning that it operates with many different programs and file
      8 formats. Kodi is recognized as the most popular media player for supporting
      9 software “addons.” An addon is a software program that runs in conjunction with an
     10 underlying software program (like Kodi) to provide functionality over and above the
     11 functionality that the underlying software provides.
     12        29.    TickBox TV also uses individual addons that are designed and
     13 maintained for the overarching purpose of scouring the Internet for illegal sources of
     14 copyrighted content and returning links to that content. When TickBox TV
     15 customers click those links, those customers instantaneously receive unauthorized
     16 streams of popular motion pictures and television shows.
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                                                   -8-
                                       FIRST AMENDED COMPLAINT


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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 24 of 42 Page ID #:735




      1        30.   From the customer’s perspective, TickBox TV works as follows. First,
      2 the customer boots up a newly delivered TickBox TV unit. The device prompts the
      3 customer to download “TickBox TV Player” software. As depicted below, the
      4 device then presents the customer with a home screen branded, “Welcome to
      5 TickBox TV.” This home screen directs the customer to various routes for
      6 obtaining infringing streams, including menu options labeled “WATCH MOVIES
      7 TV SPORTS,” “Select Your Theme,” and “3rd Party LIVE TV Suggestions.” The
      8 TickBox TV home menu also offers a link to a “One Click Webinar,” encouraging
      9 customers to “Learn how to view THOUSANDS of live tv channels for FREE!”
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                                                -9-
                                     FIRST AMENDED COMPLAINT


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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 25 of 42 Page ID #:736




      1         31.   The home menu also displays a “Support” button. Upon clicking that
      2 button, the customer sees a screen with the title: “TICKBOX TV TECH &
      3 INSTALLATION VIDEOS. BEFORE YOU DO ANYTHING ELSE, START
      4 HERE!” The TickBox TV installation video guides the customer step-by-step
      5 through the process of using the TickBox TV device to obtain access to
      6 unauthorized streams.
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                32.   The TickBox TV instructional video further instructs the customer
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          “how to” use the device to obtain infringing content. The tutorials include:
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          “TickBox TV How to watch a TV Show,” “TickBox TV How to search for a
     21
          Movie,” and “TickBox TV How to watch Live TV,” and “HOW TO DOWNLOAD
     22
          ADDONS TO YOUR TICKBOX TV.”
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                33.   The TickBox TV instructional video urges the customer to use the
     24
          “Select Your Theme” button on the start-up menu for downloading addons. The
     25
          “Themes” are curated collections of popular addons that link to unauthorized
     26
          streams of motion pictures and television shows. Some of the most popular addons
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                                                   -10-
                                        FIRST AMENDED COMPLAINT


                                                                                             Exh A
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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 26 of 42 Page ID #:737




      1 currently distributed—which are available through TickBox TV—are titled
      2 “Elysium,” “Bob,” and “Covenant.”
      3        34.   After completing the set-up and downloading addons per Defendants’
      4 directions, the customers use TickBox TV for intended and unquestionably
      5 infringing purposes, most notably to obtain instantaneous, unrestricted, and
      6 unauthorized access to infringing streams of Plaintiffs’ Copyrighted Works.
      7        35.   As noted, “Covenant” is a very popular addon for accessing infringing
      8 content. It is one of the addons that Defendants make it easy for customers for
      9 download and use to access infringing streams. The customer opens Covenant
     10 through the TickBox TV device. Once opened, the customer sees the following
     11 welcome screen, which presents Defendants’ customer with 15 different categories
     12 and search options. These curated categories include selections of obviously
     13 popular and copyrighted content, such as “Box Office,” “In Theaters,” and “New
     14 Movies”:
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                                                 -11-
                                       FIRST AMENDED COMPLAINT


                                                                                             Exh A
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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 27 of 42 Page ID #:738




      1         36.    A TickBox TV customer who selected the “In Theatres” category on
      2 September 11, 2017, would have viewed 51 curated results (as circled), the first
      3 page of which is depicted below:
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                37.    In the above example, the third listed title, Fox’s War for the Planet of
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          the Apes, was released to theaters on July 14, 2017. As of September 11, 2017, War
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          for the Planet of the Apes was not authorized for in-home viewing via video-on-
     19
          demand distribution, as its distribution was still limited exclusively to theaters. As
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          of September 11, 2017, several other of the above-listed titles were also not
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          authorized for video-on-demand distribution, as they were still being distributed
     22
          exclusively to theaters.
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                                                    -12-
                                         FIRST AMENDED COMPLAINT


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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 28 of 42 Page ID #:739




      1        38.   Once the TickBox TV customer selects a particular title to stream, he or
      2 she has nearly instantaneous access to dozens of links to sources of unauthorized
      3 content. For example, the screenshot below shows a list of results for War for the
      4 Planet of the Apes.
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    18 As the result of just one search, a TickBox TV customer would have had access to
    19 44 different unauthorized sources for streaming War for the Planet of the Apes.
    20         39.   TickBox TV customers also have access to information about sources,
    21 including whether the source streams content in high-definition or standard-
    22 definition resolution. As the screenshot above shows, the sources for some movies
    23 that are still in theaters are listed as “CAM,” which indicates that the video was shot
    24 illegally by an individual using a camcorder or other recording device in a movie
    25 theater.
    26         40.   As depicted in the screenshot below, when a customer selects a source
    27 for War for the Planet of the Apes, TickBox TV presents a user-friendly interface
    28 with buttons to fast-forward, rewind, play, pause, stop, and turn on closed-

                                                  -13-
                                       FIRST AMENDED COMPLAINT


                                                                                                 Exh A
                                                                                                    22
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 29 of 42 Page ID #:740




      1 captioning, among others. With just a few clicks, a TickBox TV customer can
      2 access an infringing stream of a motion picture that can be seen legally only in
      3 theatres.
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                Defendants Intentionally Induce Mass Infringement of Plaintiffs’
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                Copyrighted Works
     18
                41.   Defendants promote the use of TickBox TV for overwhelmingly, if not
     19
          exclusively, infringing purposes, and that is how its customers use TickBox TV.
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                42.   Defendants advertise TickBox TV as a substitute for authorized and
     21
          legitimate distribution channels such as cable television or video-on-demand
     22
          services like Amazon Prime and Netflix. With a wink and a nod, Defendants tell
     23
          prospective customers they can “of course” still use “Amazon Video, Netflix or
     24
          Hulu on Tickbox TV”— but Defendants confidently predict that, “within a few days
     25
          of using Tickbox TV™ you will find you no longer need those subscriptions”
     26
          (because TickBox TV is intended to substitute for such services).
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                                                  -14-
                                        FIRST AMENDED COMPLAINT


                                                                                             Exh A
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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 30 of 42 Page ID #:741




      1        43.    Defendants promote TickBox TV as making it easy and efficient for
      2 customers to find and access infringing streams and copies of Plaintiffs’
      3 Copyrighted Works. TickBox highlights the ease of finding and watching content
      4 on TickBox TV in its online promotional videos, explaining that “the TickBox
      5 technology just sends the stream directly to your television … and the installation is
      6 as easy as plugging the box into the HDMI port on your TV.” 1
      7        44.    Defendants market TickBox TV as a way to “Get Instant Access to
      8 Any Movie, TV Show, or Sporting Events… Without Signing a Contract or Paying
      9 a Monthly Service Fee!” Defendants inform potential customers that once they
     10 purchase TickBox TV, all of the content they stream is “ABSOLUTELY FREE.”
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     24        45.    Defendants urge their customers to stream infringing content. TickBox
     25 promotional materials inform customers that “[y]ou can see almost every movie and
     26 TV series ever made. You can even access movies and shows that are still on
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         Tickbox TV, Tickbox TV, YOUTUBE, at 1:40-52,
     28 https://www.youtube.com/watch?v=c8eF7jiANGI.

                                                  -15-
                                        FIRST AMENDED COMPLAINT


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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 31 of 42 Page ID #:742




      1 Demand and episodes of TV that were just aired. You will never pay to watch any
      2 of them.”
      3        46.   Defendants boast that TickBox TV offers automatic software updates.
      4 Defendants explain that “most content will update daily and if the add on or app
      5 needs to be updated it will update automatically.” For example, in September 2017,
      6 the automatic update added the “Covenant” addon (described above) to the TickBox
      7 TV devices of customers who had set up their devices before Covenant was
      8 available on TickBox’s download menu. Defendants thereby ensure that TickBox
      9 TV customers will enjoy uninterrupted access to the most popular and up-to-date
     10 addons for obtaining access to infringing streams any time.
     11        47.   The commercial value of Defendants’ business depends on high-
     12 volume infringing use through the TickBox TV devices. TickBox’s revenues grow
     13 based on the growth in demand for the TickBox TV devices. The demand for
     14 TickBox TV is driven by the promise of free access to infringing content. These
     15 promises depend on and form an integral part of an ecosystem built on the mass
     16 infringement of Plaintiffs’ Copyrighted Works.
     17        48.   As the CEO and “100% owner and manager and organizer of” TickBox
     18 TV LLC, respectively, Jeffrey and Carrla Goldstein exercised complete control over
     19 the “business of TickBox TV LLC, including its products, marketing materials,
     20 website, and terms of service.” 2 In choosing to promote and market the TickBox
     21 device as a way for customers to “Get Instant Access to Any Movie, TV Show”
     22 “ABSOLUTELY FREE,” the Goldsteins intentionally and directly induced the
     23 widespread infringement of Plaintiffs’ Copyrighted Works.
     24        49.   The Goldsteins also exercise control over the TickBox TV interface,
     25 including the ability to pick and choose what addons are available for TickBox
     26
          2
     27  Declaration of Jeffrey Goldstein ¶ 2, ECF. 34-1 (Dec. 28, 2017); Amendment to
        LLC Articles of Organization of TickBox TV LLC on February 18, 2017, filed with
     28 State of Georgia Secretary of State, Corporations Division.

                                                 -16-
                                       FIRST AMENDED COMPLAINT


                                                                                             Exh A
                                                                                                25
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 32 of 42 Page ID #:743




      1 customers to download and install via the “Select your Theme” and other related
      2 menu options.
      3                             FIRST CAUSE OF ACTION
      4    (Intentionally Inducing the Infringement of Plaintiffs’ Copyrighted Works,
      5                                    17 U.S.C. § 106)
      6         50.   Plaintiffs incorporate herein by reference each and every averment
      7 contained in paragraphs 1 through 49 inclusive.
      8         51.   Defendants have actual knowledge of third parties’ infringement of
      9 Plaintiffs’ exclusive rights under the Copyright Act.
     10         52.   Defendants intentionally induce the infringement of Plaintiffs’
     11 exclusive rights under the Copyright Act, including infringement of Plaintiffs’
     12 exclusive right to publicly perform their works. As intended and encouraged by
     13 Defendants, their device connects customers to unauthorized online sources that
     14 stream Plaintiffs’ Copyrighted Works. The operators of these source repositories
     15 directly infringe Plaintiffs’ public performance rights by providing unauthorized
     16 streams of the works to the public, including to Defendants’ customers. These
     17 operators, or others operating in concert with them, control the facilities and
     18 equipment used to store and stream the content, and they actively and directly cause
     19 the content to be streamed when TickBox TV customers click on a link for the
     20 content.
     21         53.   Defendants induce the aforementioned acts of infringement by
     22 supplying the physical devices that facilitate, enable, and create direct links between
     23 TickBox TV customers and the infringing operators of the streaming services, and
     24 by actively inducing, encouraging and promoting the use of its devices for blatant
     25 copyright infringement.
     26         54.   Defendants’ intentional inducement of the infringement of Plaintiffs’
     27 rights in each of their Copyrighted Works constitutes a separate and distinct act of
     28 infringement.

                                                   -17-
                                        FIRST AMENDED COMPLAINT


                                                                                                  Exh A
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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 33 of 42 Page ID #:744




      1         55.   Defendants’ inducement of the infringement of Plaintiffs’ Copyrighted
      2 Works is willful, intentional, and purposeful, and in disregard of and with
      3 indifference to the rights of Plaintiffs.
      4         56.   As a direct and proximate result of the infringement that Defendants
      5 intentionally induce, Plaintiffs are entitled to damages and TickBox’s profits in
      6 amounts to be proven at trial.
      7         57.   Alternatively, at their election, Plaintiffs are entitled to statutory
      8 damages, up to the maximum amount of $150,000 per work infringed by virtue of
      9 Defendants’ willful inducement of infringement, or for such other amounts as may
     10 be proper under 17 U.S.C. § 504.
     11         58.   Plaintiffs further are entitled to recover their attorneys’ fees and full
     12 costs pursuant to 17 U.S.C. § 505.
     13         59.   As a direct and proximate result of the foregoing acts and conduct,
     14 Plaintiffs have sustained and will continue to sustain substantial, immediate and
     15 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
     16 and restrained by this Court, Defendants will continue to induce infringement of
     17 Plaintiffs’ rights in their Copyrighted Works. Plaintiffs are entitled to injunctive
     18 relief under 17 U.S.C. § 502.
     19                            SECOND CAUSE OF ACTION
     20        (Contributory Copyright Infringement by Knowingly and Materially
     21         Contributing to the Infringement of Plaintiffs’ Copyrighted Works,
     22                                   17 U.S.C. §§ 106(1))
     23         60.   Plaintiffs incorporate herein by reference each and every averment
     24 contained in paragraphs 1 through 49 inclusive.
     25         61.   Defendants have actual or constructive knowledge of third parties’
     26 infringement of Plaintiffs’ exclusive rights under the Copyright Act. Defendants
     27 knowingly and materially contribute to such infringing activity.
     28

                                                    -18-
                                         FIRST AMENDED COMPLAINT


                                                                                                  Exh A
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Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 34 of 42 Page ID #:745




      1         62.   Defendants knowingly and materially contribute to the infringement of
      2 Plaintiffs’ exclusive rights under the Copyright Act, including infringement of
      3 Plaintiffs’ exclusive right to publicly perform their works. Defendants design and
      4 promote the use of TickBox TV devices to connect customers to unauthorized
      5 online sources that stream Plaintiffs’ Copyrighted Works. The operators of these
      6 source repositories directly infringe Plaintiffs’ public performance rights by
      7 providing unauthorized streams of the works to the public, including to TickBox’s
      8 customers. The operators, or others operating in concert with them, control the
      9 facilities and equipment used to store and stream the content, and they actively and
     10 directly cause the content to be streamed when TickBox TV customers click on a
     11 link for the content.
     12         63.   Defendants knowingly and materially contribute to the aforementioned
     13 acts of infringement by supplying the physical devices that facilitate, encourage,
     14 enable, and create direct links between TickBox TV customers and infringing
     15 operators of the streaming services, and by actively encouraging, promoting, and
     16 contributing to the use of its devices for blatant copyright infringement.
     17         64.   Defendants’ knowing and material contribution to the infringement of
     18 Plaintiffs’ rights in each of their Copyrighted Works constitutes a separate and
     19 distinct act of infringement.
     20         65.   Defendants’ knowing and material contribution to the infringement of
     21 Plaintiffs’ Copyrighted Works is willful, intentional, and purposeful, and in
     22 disregard of and with indifference to the rights of Plaintiffs.
     23         66.   As a direct and proximate result of the infringement to which
     24 Defendants knowingly and materially contribute, Plaintiffs are entitled to damages
     25 and TickBox’s profits in amounts to be proven at trial.
     26         67.   Alternatively, at their election, Plaintiffs are entitled to statutory
     27 damages, up to the maximum amount of $150,000 per work infringed by virtue of
     28

                                                    -19-
                                         FIRST AMENDED COMPLAINT


                                                                                               Exh A
                                                                                                  28
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 35 of 42 Page ID #:746




      1 Defendants’ willful, knowing, and material contribution to infringement, or for such
      2 other amounts as may be proper under 17 U.S.C. § 504.
      3         68.   Plaintiffs further are entitled to recover their attorneys’ fees and full
      4 costs pursuant to 17 U.S.C. § 505.
      5         69.   As a direct and proximate result of the foregoing acts and conduct,
      6 Plaintiffs have sustained and will continue to sustain substantial, immediate and
      7 irreparable injury, for which there is no adequate remedy at law. Unless enjoined
      8 and restrained by this Court, Defendants will continue to knowingly and materially
      9 contribute to the infringement of Plaintiffs’ rights in their Copyrighted Works.
     10 Plaintiffs are entitled to injunctive relief under 17 U.S.C. § 502.
     11                                PRAYER FOR RELIEF
     12         WHEREFORE, Plaintiffs pray for judgment against Defendants and for the
     13 following relief:
     14         1.    For Plaintiffs’ damages and TickBox’s profits in such amount as may
     15 be found; alternatively, at Plaintiffs’ election, for maximum statutory damages; or
     16 for such other amounts as may be proper pursuant to 17 U.S.C. § 504(c).
     17         2.    For preliminary and permanent injunctions (a) enjoining Defendants
     18 and their officers, agents, servants, employees, attorneys, and all persons acting in
     19 active concert or participation with them, from publicly performing or otherwise
     20 infringing in any manner (including without limitation by materially contributing to
     21 or intentionally inducing the infringement of) any right under copyright in any of
     22 Plaintiffs’ Copyrighted Works, including without limitation by publicly performing
     23 those Works, or by distributing any software or providing any service or device that
     24 does or facilitates any of the foregoing acts; and (b) impounding all TickBox TV
     25 devices in Defendants’ possession, custody, or control, and any and all documents
     26 or other records in Defendants’ possession, custody, or control relating to
     27 Defendants’ contribution to and inducement of the infringement of Plaintiffs’
     28 Copyrighted Works.

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                                        FIRST AMENDED COMPLAINT


                                                                                                  Exh A
                                                                                                     29
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 36 of 42 Page ID #:747




       1        3.    For prejudgment interest according to law.
       2        4.    For Plaintiffs’ attorneys’ fees and full costs incurred in this action
       3 pursuant to 17 U.S.C. § 505.
       4        5.    For all such further and additional relief, in law or in equity, to which
       5 Plaintiffs may be entitled or which the Court deems just and proper.
       6                            DEMAND FOR JURY TRIAL
       7        Plaintiffs demand a trial by jury on all issues triable by jury.
       8
       9 DATED: June 4, 2018                   MUNGER, TOLLES & OLSON LLP
      10
      11                                       By: /s/ Kelly M. Klaus
      12                                           KELLY M. KLAUS
                                               Attorneys for Plaintiffs
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                                         FIRST AMENDED COMPLAINT


                                                                                                  Exh A
                                                                                                     30
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 37 of 42 Page ID #:748




        FIRST AMENDED
      COMPLAINT EXHIBIT A




                                                                             Exh A
                                                                                31
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 38 of 42 Page ID #:749


                      Representative List of Works Available on TickBox TV

                                                              Registration
   Title                      Copyright Registrants                          Registration Date
                                                              Number
   The Purge: Election        Universal City Studios
                                                              PA1-995-003            7/11/2016
   Year                       Productions LLLP
                              Universal City Studios
   Despicable Me 3                                            PA2-043-544            6/27/2017
                              Productions LLLP
                              Universal City Studios
   The Boss                                                   PA1-993-610             4/7/2016
                              Productions LLLP
                              Universal City Studios
   Jurassic World             Productions LLLP; Amblin        PA1-946-359            6/10/2015
                              Entertainment LLC
                              Columbia Pictures Industries,
   The Shallows                                               PA1-993-394            7/13/2016
                              Inc.
                              Columbia Pictures Industries,
   Miracles from Heaven                                       PA1-981-803             4/7/2016
                              Inc.
   Spiderman:                 Columbia Pictures Industries,
                                                              PA2-044-059             7/7/2017
   Homecoming                 Inc.
                              Columbia Pictures Industries,
   Rough Night                                                PA2-041-774            6/30/2017
                              Inc.
   Smurfs: The Lost           Columbia Pictures Industries,
                                                              PA 2-029-508           4/21/2017
   Village                    Inc.
   Pete’s Dragon              Disney Enterprises, Inc.        PA1-998-053            8/26/2016

   The Finest Hours           Disney Enterprises, Inc.        PA1-989-069            5/27/2016

   Maleficent                 Disney Enterprises, Inc.        PA1-899-203            6/10/2014
   Alice Through the
                              Disney Enterprises, Inc.        PA1-991-651            6/28/2016
   Looking Glass
   Into the Woods             Disney Enterprises, Inc.        PA1-932-175            2/11/2015
                              Twentieth Century Fox Film
   Independence Day:
                              Corporation; TSG                PA1-994-450            7/22/2016
   Resurgence
                              Entertainment Finance LLC
                              Twentieth Century Fox Film
   Deadpool                   Corporation; TSG                PA1-977-152             3/4/2016
                              Entertainment Finance LLC
   Ice Age, Collision         Twentieth Century Fox Film
                                                              PA1-995-002            7/27/2016
   Course                     Corporation
                              Twentieth Century Fox Film
   Ice Age: The Meltdown                                      PA1-306-625            3/31/2006
                              Corporation


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                                                                                           Exh A
                                                                                              32
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 39 of 42 Page ID #:750



                                                            Registration
   Title                       Copyright Registrants                       Registration Date
                                                            Number
                               Twentieth Century Fox Film
   War for the Planet of the
                               Corporation; TSG             PA2-044-947            7/25/2017
   Apes
                               Entertainment Finance LLC
   Paranormal Activity:        Paramount Pictures
                                                            PA1-960-100           10/23/2015
   The Ghost Dimension         Corporation
                               Paramount Pictures
   Zoolander 2                                              PA1-974-008            2/16/2016
                               Corporation
   13 Hours: The Secret        Paramount Pictures
                                                            PA1-969-757            1/19/2016
   Soldiers of Benghazi        Corporation
                               Paramount Pictures
   Whiskey Tango Foxtrot                                    PA1-977-149             3/4/2016
                               Corporation
                               Warner Bros. Entertainment
   Wonder Woman                Inc.; Ratpac-Dune            PA2-036-078             6/6/2017
                               Entertainment LLC
                               Warner Bros. Entertainment
   Batman v. Superman:
                               Inc.; Ratpac-Dune            PA1-981-624            3/30/2016
   Dawn of Justice
                               Entertainment LLC
                               Warner Bros. Entertainment
   Dunkirk                     Inc.; Ratpac-Dune            PA2-044-585            7/20/2017
                               Entertainment LLC
   Harry Potter and the        Warner Bros. Entertainment
                                                            PA1-721-904             3/4/2011
   Deathly Hallows Part 1      Inc.
                               Warner Bros. Entertainment
   Suicide Squad               Inc.; Ratpac-Dune            PA1-995-698             8/4/2016
                               Entertainment LLC
   Bosch, Season 1,            Amazon Content Services
                                                            PA2-000-165            2/10/2016
   Episode 1                   LLC
   The Man in the High
                               Amazon Content Services
   Castle, Season 1,                                        PA2-006-699            1/15/2015
                               LLC
   Episode 1
   Transparent, Season 1,      Amazon Content Services
                                                            PA1-930-949            12/3/2014
   Episode 1                   LLC
   Mozart in the Jungle,       Amazon Content Services
                                                            PA1-963-304            3/23/2015
   Season 1, Episode 1         LLC
   Bosch, Season 1,            Amazon Content Services
                                                            PA2-000-165            2/10/2016
   Episode 1                   LLC
   The Oa, Season 1,
                               Netflix Studios, LLC         PA2-029-045            1/18/2017
   Episode 1

                                                    ii


                                                                                         Exh A
                                                                                            33
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 40 of 42 Page ID #:751



                                                     Registration
   Title                     Copyright Registrants                  Registration Date
                                                     Number
   Santa Clarita Diet,
                             Netflix Studios, LLC    PA2-028-853             2/3/2017
   Season 1, Episode 1
   Stranger Things, Season
                             Netflix Studios, LLC    PA2-009-908            9/26/2016
   1, Episode 8
   Wet Hot American
   Summer: First Day of
                             Netflix Studios, LLC    PA1-996-639            4/19/2016
   Camp, Season 1,
   Episode 1
   Easy, Season 1, Episode
                             Netflix Studios, LLC    PA2-009-863            9/26/2016
   1




                                               iii


                                                                                  Exh A
                                                                                     34
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 41 of 42 Page ID #:752




         EXHIBIT B



                                                                            Exh B
                                                                               35
Case 2:17-cv-07496-MWF-AS Document 51 Filed 06/04/18 Page 42 of 42 Page ID #:753




                                        JUDGE MICHAEL W. FITZGERALD
                               SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

   Case No.                                             2:17-cv-07496-MWF(AS)
                                                        Universal City Studios Productions LLLP; Columbia Pictures Industries, Inc.; Disney Enterprises, Inc.;
   Case Name                                            Twentieth Century Fox Film Corporation; Paramount Pictures Corporation; Warner Bros. Entertainment Inc.;
                                                        Amazon Content Services, LLC; Netflix Studios, LLC v. TickBox TV LLC

                                                                                                    Plaintiff(s)’ Date mo /     Defendant(s)’ Date       Court Order
                                               Matter                                                day / year                   mo / day / year

   [ x ] Jury Trial   or   [ ] Court Trial                                                         12/17/18

   (Tuesday at 8:30 a.m.)              Duration Estimate:5-8 Days


   Final Pretrial Conference [LR 16] and Hearing on Motions In Limine                              11/26/18

   (Monday at 11:00 a.m. -- three (3) weeks before trial date)

   Motions In Limine must be filed three (3) weeks before this date; oppositions are due two (2)
   weeks before this date; no reply briefs.

   Event                                                                   Weeks Before Trial       Plaintiff(s)’ Date mo /     Defendant(s)’ Date       Court Order
                                                                                                     day / year                   mo / day / year

   Last Date to Hear Motion to Amend Pleadings /Add Parties                                        8/3/2018

   Non−Expert Discovery Cut−Off (at least 4 weeks before last                       18             8/3/2018
   date to hear motions)

   Expert Disclosure (Initial)                                                                     8/3/2018

   Expert Disclosure (Rebuttal)                                                                    8/24/2018

   Expert Discovery Cut−Off                                                        14*             9/14/2018

   Last Date to Hear Motions (Monday at 10:00 a.m.)                                14**            9/14/2018

   Last Date to Conduct Settlement Conference                                       12             9/28/2018


   For Jury Trial                                                                    6             11/5/2018
   • File Memorandum of Contentions of Fact and Law, LR 16−4
   • File Exhibit and Witness Lists, LR 16−5.6
   • File Status Report Regarding Settlement
   • File Motions In Limine


   For Jury Trial                                                                   5              11/12/2018
   • Lodge Pretrial Conference Order, LR 16−7
   • File Agreed Set of Jury Instructions and Verdict Forms
   • File Statement Regarding Disputed Instructions, Verdicts, etc.
   • File Oppositions to Motions In Limine


   For Court Trial
   • Lodge Findings of Fact and Conclusions of Law, LR 52, and
       Summaries of Direct Testimony


                      * The parties may choose to cut off expert discovery prior to MSJ briefing.
                      ** Motions for class certification shall be filed in accordance with Local Rule 23−3.

                                                                        ADR [LR 16−15] Selection:

                           Attorney Settlement Officer Panel                  Private Mediation               X Magistrate Judge (with Court approval)




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                                                                                                                                                              36
